Case 19-10731   Doc 11-2   Filed 04/17/19 Entered 04/17/19 10:47:15   Desc Exhibit
                                  B Page 1 of 4




                     EXHIBIT B
Case 19-10731   Doc 11-2   Filed 04/17/19 Entered 04/17/19 10:47:15   Desc Exhibit
                                  B Page 2 of 4
Case 19-10731   Doc 11-2   Filed 04/17/19 Entered 04/17/19 10:47:15   Desc Exhibit
                                  B Page 3 of 4
Case 19-10731   Doc 11-2   Filed 04/17/19 Entered 04/17/19 10:47:15   Desc Exhibit
                                  B Page 4 of 4
